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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA ”
V. a Criminal No. RWT 04-0235

LAVON DOBIE, a/k/a Becky Parker,
a/k/a Theresa Waller, *
a/k/a Dobie Parker,

*
* KOK OK OK KK

ORDER

The Court received in chambers correspondence from Defendant Lavon Dobie on August 7,

2008. The Court will construe the letter as a motion for appointment of counsel and direct the Clerk

of the Court to docket it as such.

The letter appears to be in response to the Order of April 8, 2008 [Paper No. 1179], by which

this Court denied Defendant’s Motion for Reduction of Sentence [Paper No. 1176] for lack of

jurisdiction due to Defendant’s pending appeal. Although the Court provided thirty days for

Defendant to file any objections to the Court’s order before it became final, Defendant did not do

so. As the Court has already denied the motion for which Defendant seeks appointment of counsel

and lacks jurisdiction over this matter, it will deny the motion for appointment of counsel as well.

Accordingly, it is this Avs day of Séytin bn , 2008, hereby Ordered by the United States

District Court for the District of Maryland that:

l. The Clerk of the Court docket Defendant’s letter received in chambers on August 7,

2008, as a Motion for Appointment of Counsel;

2. The Motion for Appointment of Counsel IS DENIED;
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3. The Clerk SHALL SEND a copy of this Order to counsel, the United States

Probation Office, and the Defendant. 7

ROGER W--tERUS—
UNITED STATES DISTRICT JUDGE

